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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             :
UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       No. 23-CR-237 (CJN)
                                             :
NATHAN EARL HUGHES,                          :
                                             :
       Defendant.                            :

                        GOVERNMENT’S OPPOSITION TO
                  DEFENDANT’S RENEWED MOTION TO CONTINUE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully opposes Nathan Earl Hughes’ fourth motion to continue

proceedings in this case. ECF 208. On August 6, 2024, the defendant pled guilty to Counts One,

Two, and Five of the Third Superseding Indictment, respectively charging violations of 18 U.S.C.

§ 231(a)(3), 18 U.S.C. § 111(a)(1), and 40 U.S.C. § 5104(e)(2)(E). That same day, the Court set a

sentencing hearing for November 15, 2024. On October 30, 2024, the defendant moved, with

consent of the government, to continue his sentencing hearing on the basis that his fiancée was due

to give birth on November 15, 2024. See ECF 194. Sentencing is now set for December 16, 2024.

Minute Order, October 31, 2024.

       On November 11, 2024, the defendant moved to vacate all dates and hearings in this case

until the week of February 2, 2025, based on the government’s filing of a motion to vacate the

briefing scheduled in United States v. Trump, 23-cr-257 (TSC), and President-elect Trump’s

statements during his presidential campaign that “he intended to issue pardons, sentence

commutations, order the dismissal of pending cases, and in other ways bring an end to the

Department of Justice’s prosecutorial endeavors regarding the events of January 6, 2021,” ECF

197, which the government opposed, ECF 198, and the Court denied, Minute Order, November
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14, 2024. On December 6, 2024, the defendant filed under seal a third motion to continue his

sentencing, ostensibly for reasons separate from those set forth in his November 11 motion, ECF

204, which the government has also opposed, ECF 207. The defendant has now filed a fourth

motion to delay the proceedings in this case. This time he argues that such delay is warranted

because of (1) President Biden’s pardon of Hunter Biden and (2) additional statements by

President-elect Trump that he “intends to provide some form of relief to individuals such as Mr.

Hughes, convicted in connection with the events of January 6, 2021.” ECF 208. The Court should

deny this motion, as it is nothing more than a baseless attempt by the defendant to avoid sentencing

for his criminal conduct and sets forth no legitimate basis for further delay.

       Following a conviction, a court “must impose sentence without unnecessary delay.” Fed.

R. Crim. P. 32(b)(1). Despite his repeated attempts to put off his sentencing, the defendant has

offered no legal justification or good cause for further delay. First, the defendant’s citation to the

pardon of Hunter Biden is inapposite. That case lacks any connection to the offenses for which the

defendant has been convicted and the executive’s exercise of the pardon power with respect to one

criminal defendant has no bearing on another defendant’s conviction. Second, the purported

“development” regarding the President-elect’s December 8, 2024, interview does not change

speculative nature of the defendant’s hope for a pardon or other form of clemency. 1 See United

States v. Rodgers, 23-cr-330 (TNM), Dec. 10, 2024, Minute Entry (denying motion to continue

trial based on nearly identical arguments regarding the pardon of Hunter Biden and the President-

elect’s December 8 interview).




1
 Indeed, this Court denied an oral motion by Mr. Hughes’ counsel to continue sentencing based
on statements made in the December 8, 2024, interview in United States v. Winegeart, 22-cr-301
(CJN).
                                                  2
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       The only basis for the defendant’s request—that he may receive a pardon at an unspecified

date and thus prefers not to be sentenced—is speculative. The criminal justice system cannot

operate on such uncertainty. Indeed, it is neither a court’s role or function to speculate about any

president’s pardon decisions, nor is it appropriate to halt the normal functioning of criminal

procedure based solely on that speculation. See United States v. Connell, et al., 21-cr-84 (PLF),

ECF 157 (“Whatever the President-elect may or may not do with respect to some of those

convicted for their conduct at the Capitol on January 6, 2021, is irrelevant to the Court’s

independent obligations and legal responsibilities under Article III of the Constitution.”); United

States v. Lichnowski, 23-cr-341 (RBW), ECF 73 (denying defendant’s motion to continue her

sentencing until after President-elect Trump’s inauguration because “the potential future exercise

of the discretionary pardon power, an Executive Branch authority, is irrelevant to the Court’s

obligation to carry out the legal responsibilities of the Judicial Branch”); United States v. Grillo,

21-cr-690 (RCL), ECF 145 at 2 (Courts “do not shirk from [their constitutional duties] or

indefinitely delay proceedings because of a lurking possibility of a presidential pardon after the

conclusion of judicial proceedings.”) And it goes without saying that a defendant’s preference not

to be sentenced cannot serve as a good basis to delay that sentencing, as it is difficult to believe

that any criminal defendant is particularly eager to be sentenced. Indeed, the relief that the

defendant seeks by delaying his sentencing is, in effect, another form of clemency: a reprieve. See

67A C.J.S. Pardon & Parole § 3 (“A reprieve is the postponement of the execution of a

sentence.”). 2 And reprieves are, like pardons, reserved to the Executive. See U.S. Const. Art. 2,



2
   Id. (“A reprieve is ordinarily an act of clemency and is extended to a prisoner in order to afford
the prisoner an opportunity to procure some amelioration of the sentence which has been imposed.
[...] Generally, the power to pardon includes the power to reprieve. By constitutional provisions,
the power to reprieve is expressly vested in the executive[.] [...] Moreover, the vestiture of the
power to grant reprieves in a state’s chief executive is exclusive of all other departments of the
                                                 3
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Sec. 2 (“ . . . he shall have Power to grant Reprieves and Pardons for Offences against the United

States, except in Cases of Impeachment.”); see also United States v. Jenkins, 141 F. Supp. 499,

505 (S.D. Ga. 1956) (“The United States Constitution, Article 2, Section 2, provides that only the

President may compromise a criminal judgment by granting reprieves and pardons for offenses

against the United States. This subject is fully developed in 19 Opinions of the Attorney General,

344.”).

          To be clear, this Court may possess inherent authority to delay a defendant’s sentencing

based on good cause without intruding on the Executive’s reprieve powers, 3 but that is not the

basis of the defendant’s request nor has he demonstrated any such good cause here. Far from it,

he seeks this Court grant him, essentially, preemptive judicial grace now through a stay in the

hopes of an act of Executive grace later. But that ungrounded request demonstrates the impropriety

of any such act. “The President’s clemency power is not only expansive, but also exclusive. Neither

the legislative nor the judicial branches can exercise or alter it.” Rosemond v. Hudgins, 92 F.4th

518, 525 (4th Cir. 2024). If a future Executive cannot, today, grant a pardon, this Court cannot

expand the temporal grace that Executive may or may not extend in the future to the affect the

present, 4 as the defendant seeks. See also Kelvington v. Presidential Pardon & Parole Attorneys,

211 F.2d 642, 644, (D.C. Cir. 1954) (recognizing that “[t]he pardoning power is one which the

Constitution expressly vests in the President,” other courts of appeals have concluded that it must




state[.] […] It is a power and a duty entrusted to the executive’s judgment and discretion, which
cannot be interfered with, and of which the executive cannot be relieved.”).
3
  See United States v. Roskovski, No. 2:19-cr-106 - 1, 2021 U.S. Dist. LEXIS 149198, at *2 (W.D.
Pa. Aug. 9, 2021) (“Inherent in the authority to allow a defendant the opportunity to voluntarily
surrender to the BOP to begin serving a sentence is the authority to delay the date on which a
sentence may commence for good cause and within reasonable limits.”).
4
  If anything, such an expansion would improperly tread on the powers of the current Executive.
                                                 4
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“be free of judicial control”); see also Hawkins v. United States, 14 F.2d 596, 598 (7th Cir. 1926)

(“In fixing judgment [a court] has no right to take into consideration these elements, and could not

justify so doing any more than it could a stipulation in the judgment that no pardon or commutation

shall ever be granted. These are matters for the legislative or executive department, and should

have no place or influence in fixing sentence and judgment.”) (emphasis added). This Court should

therefore proceed with sentencing as scheduled, as there is no non-speculative reason for delay,

much less good cause of legal justification. Fed. R. Crim. P. 32(b)(1); see also Strunk v. United

States, 412 U.S. 434, 439 n.2, 93 S. Ct. 2260, 2263 (1973) (“It can also be said that an accused

released pending trial often has little or no interest in being tried quickly; but this, standing alone,

does not alter the prosecutor’s obligation to see to it that the case is brought on for trial. The desires

or convenience of individuals cannot be controlling. The public interest in a broad sense, as well

as the constitutional guarantee, commands prompt disposition of criminal charges.”).

        In sum, the defendant should not be spared from the normal course of criminal procedure

based on his speculative hopes and desires that he may later benefit from a potential pardon.

Because the defense has not cited good cause to delay the reporting date, the Court should sentence

the defendant without any further delay on December 16, 2024.


                                                Respectfully submitted,

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